Case 1:23-cv-00108-LMB-JFA Document 1132-15 Filed 08/06/24 Page 1 of 8 PageID# 82915




                             Exhibit O
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    Exhibit 1 - UNDER SEAL
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                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this the 17th day of June, 2024, a true and correct copy of

    the foregoing was served by email on counsel of record for the parties.


                                                 /s/ Connor Kelley
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                                                 Washington, DC 20001
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